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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 MEGATEL HOMES, LLC, MEGATEL                    §
 HOMES II, LLC, and MEGATEL HOMES               §
 III, LLC                                       §
                                                §
                Plaintiffs,                     §
                                                §
 v.                                             §           Civil Action No. ______________
                                                §
 MEHRDAD MOAYEDI, UNITED                        §
 DEVELOPMENT FUNDING, L.P.,                     §
 UNITED DEVELOPMENT FUNDING II,                 §
 L.P., UNITED DEVELOPMENT                       §
 FUNDING III, L.P., UNITED                      §
 DEVELOPMENT FUNDING IV,                        §
 UNITED DEVELOPMENT FUNDING                     §
 INCOME FUND V, UMT SERVICES,                   §
 INC., UMT HOLDINGS, L.P., HOLLIS               §
 GREENLAW, THEODORE F. ETTER,                   §
 BENJAMIN WISSINK, and BRANDON                  §
 JESTER                                         §
                                                §
                Defendants.                     §


                          PLAINTIFFS’ ORIGINAL COMPLAINT

        Plaintiffs Megatel Homes, LLC, Megatel Homes II, LLC, and Megatel Homes III, LLC

(collectively “Megatel”) file this Original Complaint against Defendants Mehrdad Moayedi,

United Development Funding, L.P., United Development Funding II, L.P. (“UDF II”), United

Development Funding III, L.P. (“UDF III”), United Development Funding IV (“UDF IV”), United

Development Funding Income Fund V (“UDF V”), UMT Services, Inc. (“UMT Services”), UMT

Holdings, L.P. (“UMT Holdings”), Hollis Greenlaw, Theodore F. Etter, Benjamin Wissink, and

Brandon Jester, and in support thereof would respectfully show the following:




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                                   I.      INTRODUCTION

       1.      This case concerns a protracted and multi-faceted scheme to defraud Megatel,

which provided collateral support for and concealment of a separate Ponzi-like scheme involving

hundreds of millions of dollars and manifold real estate development projects across North Texas.

       2.      In 2003, Defendants Greenlaw and Etter founded United Development Funding,

L.P., which is an investment fund focused on providing financing for residential development

projects. From 2003 to 2014, Greenlaw and Etter created several related funds, including UDF II,

UDF III, UDF IV, and UDF V, managed, in part, by both UMT Services and UMT Holdings

(collectively “UDF”). The UDF business model was straightforward—a UDF fund would raise

capital from investors and low-interest bank loans and then lend that capital to land developers and

homebuilders at interest rates that exceeded the UDF funds’ cost of capital.

       3.      From its inception, some of UDF’s largest borrowers were Centurion American

Custom Homes d/b/a Centurion American Development Group and its various affiliated entities

(collectively “Centurion”), which are land development companies founded, operated, and

controlled by Defendant Moayedi. Indeed, at one point, loans to Centurion constituted more than

half of the outstanding loan portfolios of UDF III and UDF IV.

       4.      By 2009, Megatel had established itself as one of the premier homebuilders in the

State of Texas, and Centurion frequently contracted with Megatel to serve as a primary builder on

land development projects predominately financed by UDF.

       5.      Prior to 2015, Megatel perceived its relationship with Centurion and UDF to be

incredibly successful and lucrative. Unbeknownst to Megatel, however, by 2011, UDF and

Centurion had become cash starved as a result of the Great Recession, and Moayedi and the UDF

Defendants surreptitiously and behind closed-doors schemed to keep themselves afloat.




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       6.      To prevent the collapse of Centurion, Moayedi needed cash to fend off widespread

foreclosure, and Megatel proved to be a handy target. First, Moayedi fraudulently induced Megatel

to enter into multiple real estate contracts and amendments and fraudulently obtained a significant

amount of earnest money and other benefits from Megatel that he diverted to other ventures and

loan repayments. Second, Moayedi engineered bogus terminations of Megatel contracts (using

backdated and forged documents) when the opportunity to sell on more favorable terms to

Megatel’s competitors presented itself. Third, Moayedi looted public funding from projects in

which Megatel participated and diverted that funding to other projects and loan repayments.

       7.      For its part, UDF began operating as a Ponzi-like scheme, using freshly-raised

capital in newer funds to pay investors in older funds. To implement this scheme, a newer UDF

fund (e.g. UDF V) would loan money to Centurion—ostensibly for a specific land-development

project—that Centurion would use to repay loans it had received from an older UDF fund (e.g.

UDF III). The older UDF fund, in turn, used this money to pay distributions to its investors,

thereby concealing the failure of the loans made by the older fund. Each new loan originated from

a newer fund to pay an older fund generated millions of dollars in asset management and

origination fees for the UDF Defendants, which starved the funding for development projects for

which Megatel had contracted.

       8.      To continue raising money for newer UDF funds, UDF needed to show investors

that it was going to deploy their capital into promising development projects that would provide

the investors with a return on their investments. Accordingly, a significant portion of the money

UDF loaned to Centurion was earmarked for projects in which Megatel participated, and

Centurion’s contracts with Megatel were used as collateral to secure these loans, used in

reappraising the property’s value and increasing the loan amount, and as evidence for UDF




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investors that UDF loans were being made to finance legitimate development projects. Although

UDF and Centurion intended from the outset to use loans from newer UDF funds to repay loans

from older funds, Moayedi repeatedly induced Megatel to enter into development contracts and

amendments with false representations regarding Centurion’s intent and ability to hit various

development benchmarks and develop new projects. Because Centurion was not using, and never

intended to use, loans from newer UDF funds to advance these projects, however, many of the

projects languished, leading to significant delays in the delivery of developed lots to Megatel and,

in some cases, a complete failure by Centurion to deliver on the promises it and Moayedi had made

to Megatel.

       9.      In sum, Moayedi and UDF had independent incentives to prop each other up and to

facilitate their separate schemes. And they did so, in part, by conspiring to defraud Megatel, which

stood at the intersection of the two frauds. Together, Defendants syphoned hundreds of millions

of dollars off loans intended for the development of projects for which Megatel had contracted for

their own personal enrichment.

       10.     The house of cards eventually collapsed, resulting in an FBI raid, an SEC

settlement, and class-action litigation by UDF’s investors. Megatel now brings this lawsuit to

recover the substantial damages it has suffered as a result of the Defendants’ protracted pattern of

systemic fraud and deception.

                                        II.     PARTIES

       11.     Plaintiff Megatel Homes, LLC (f/k/a Megatel Homes, Inc.) is a limited-liability

company organized under the laws of the State of Texas. Its principal place of business is located

at 1800 Valley View Lane, Suite 400, Farmers Branch, Texas 75234.




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         12.   Plaintiff Megatel Homes II, LLC is a limited-liability company organized under the

laws of the State of Texas. Its principal place of business is located at 1800 Valley View Lane,

Suite 400, Farmers Branch, Texas 75234.

         13.   Plaintiff Megatel Homes III, LLC is a limited-liability company organized under

the laws of the State of Texas. Its principal place of business is located at 1800 Valley View Lane,

Suite 400, Farmers Branch, Texas 75234.

         14.   Defendant Mehrdad Moayedi is a Texas citizen and the principal of Centurion. His

business address is 1800 Valley View Lane, Suite 300, Farmers Branch, Texas 75234. Moayedi

conducted the affairs of the Centurion Enterprise through a pattern of racketeering.

         15.   Defendant United Development Funding L.P. is a Delaware limited partnership

with its principal place of business located at 1301 Municipal Way, Suite 200, Grapevine, Texas

76051.

         16.   Defendant United Development Funding II, L.P. is a Delaware limited partnership

with its principal place of business located at 1301 Municipal Way, Suite 200, Grapevine, Texas

76051.

         17.   Defendant United Development Funding III, L.P. is a Delaware limited partnership

with its principal place of business located at 1301 Municipal Way, Suite 200, Grapevine, Texas

76051.

         18.   Defendant United Development Funding IV is a Maryland real estate investment

trust with its principal place of business located at 1301 Municipal Way, Suite 200, Grapevine,

Texas 76051.




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        19.     Defendant United Development Funding Income Fund (“UDF V”) is a Maryland

real estate investment trust with its principal place of business located at 1301 Municipal Way,

Suite 200, Grapevine, Texas 76051.

        20.     Defendant UMT Services, Inc. is a Delaware corporation with its principal place of

business located at 1301 Municipal Way, Suite 200, Grapevine, Texas 76051.

        21.     Defendant UMT Holdings, L.P. is a Delaware limited partnership with its principal

place of business located at 1301 Municipal Way, Suite 200, Grapevine, Texas 76051.

        22.     Defendant Hollis Greenlaw is a founder and principal of UDF. His business

address is 1301 Municipal Way, Suite 200, Grapevine, Texas 76051. Greeenlaw, acting in concert

and coordination with Moayedi and the other RICO Defendants, engaged in wrongful conduct at

issue in this case.

        23.     Defendant Theodore “Todd” F. Etter is also a founder and principal of UDF. His

business address is 1301 Municipal Way, Suite 200, Grapevine, Texas 76051. Etter, acting in

concert and coordination with Moayedi and the other RICO Defendants, engaged in wrongful

conduct at issue in this case.

        24.     Defendant Benjamin Wissink is a principal and officer of UDF. His business

address is 1301 Municipal Way, Suite 200, Grapevine, Texas 76051. Wissink, acting in concert

and coordination with Moayedi and the other RICO Defendants, engaged in wrongful conduct at

issue in this case.

        25.     Defendant Brandon Jester is an officer of UDF. His business address is 1301

Municipal Way, Suite 200, Grapevine, Texas 76051. Jester, acting in concert and coordination

with Moayedi and the other RICO Defendants, engaged in wrongful conduct at issue in this case.




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                                      III.     JURISDICTION

       26.     The jurisdiction of this Court is founded on 18 U.S.C. § 1964 and 28 U.S.C.

§§ 1332, 1367(a).

                                             IV.   VENUE

       27.     Venue is appropriate in this District because all defendants are residents of the State

of Texas; alternatively, venue is appropriate in this Court because “a substantial part of the events

or omissions giving rise” to the Plaintiffs’ claims occurred in this District. See 28 U.S.C.

§ 1391(b).

                                 V.          CULPABLE PERSONS

       28.     Each defendant is “capable of holding a legal or beneficial interest in property,”

and therefore is a “person” within the meaning of 18 U.S.C. § 1961(3).

                                    VI.       THE ENTERPRISE

       29.     The Centurion Enterprise is comprised of Centurion American and its affiliates and

subsidiaries. It is therefore an “enterprise” within the meaning of 18 U.S.C. § 1961(4).

       30.     Both the activities of the enterprise and the predicate acts of racketeering affect

interstate commerce, as the defendants have used mail, wires, and other instrumentalities of

interstate commerce as detailed herein.

                             VII.     RACKETEERING ACTIVITY

       31.     Moayedi, in concert with the other defendants, conceived a scheme or artifice to

defraud or to obtain money or property by means of false or fraudulent pretenses, representations,

or promises.




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       32.     Moayedi, in concert with the other defendants, executed this scheme by making

dozens of misrepresentations and omissions facilitated by—and sometimes contained within—

hundreds of mail and wire communications in violation of 18 U.S.C. §§ 1341 and 1343.

       33.     Moayedi, in concert with the other defendants, also transported and/or received in

interstate commerce more than $5,000 that was stolen, converted or taken by fraud in violation of

18 U.S.C. § 2314.

       34.     Moayedi’s misrepresentations and omissions took four forms. First, Moayedi

entered into contracts with Megatel that he had no intention of performing. Second, he made

misrepresentations to Megatel in the course of performance. Third, he made misrepresentations

to government authorities. Fourth, he forged and backdated documents.

       35.     By way of example, the following non-exhaustive list of predicate acts (labelled

with the name of the associated development project) were undertaken intentionally and

effectuated by use of a mailing or an interstate wiring:

         a.    Shahan Prairie Predicate Act 1 – On or about February 28, 2014, Moayedi caused

               Shahan Prairie, L.P.—an instrumentality of the Centurion Enterprise—to enter into

               a Contract of Sale with Megatel Homes III, wherein it represented to Megatel

               Homes III that it would “diligently pursue to Completion . . . the development and

               construction of improvements” specified in the Contract of Sale. In addition,

               Moayedi caused Shahan Prairie, L.P. to represent to Megatel Homes III that

               completion of the development and construction of improvements would be

               accomplished on or prior to 12 months after the date of the Contract for Sale. These

               representations were false and fraudulent because, at the time they were made,

               Moayedi had no intention of performing, or alternatively, knew he was incapable




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              of doing so. Moayedi’s intention in making this false representation was to

              fraudulently induce Megatel III into the Contract of Sale, so that Shahan Prairie

              L.P. could show an increased potential value for the purported Shahan Prairie

              development and thereby obtain additional financing from UDF III.

        b.    Shahan Prairie Predicate Act 2 – On June 2, 2014, Moayedi fraudulently induced

              Megatel III to enter into an amendment to the Contract of Sale to increase the

              number of lots in the purported Shahan Prairie development that Megatel III would

              be obligated to purchase upon completion. In the amendment, Moayedi reaffirmed

              the false and fraudulent promises made in the initial Contract of Sale. In doing so,

              he made an additional false and fraudulent representation of fact. Moayedi’s

              intention in making this false representation was to induce Megatel III to enter into

              the amendment, so that Shahan Prairie, L.P. could show an increased potential

              value for the purported Shahan Prairie development and thereby obtain additional

              financing from UDF V that it would ultimately use to repay loans from UDF III.

        c.    Shahan Prairie Predicate Act 3 – In 2016, Moayedi sent Megatel III a fraudulent

              notice cancelling the Contract of Sale. The fraudulent notice was backdated and

              without any legal basis. After sending the fraudulent cancellation notice, Moayedi

              caused Shahan Prairie, L.P. to sell the lots that Megatel III was going to purchase

              to one of Megatel’s competitors.

        d.    Riverwalk Predicate Act 1 – On April 6, 2015, Moayedi caused CADG

              Riverwalk—an instrumentality of the Centurion Enterprise—to enter into the

              Riverwalk Contract with Megatel Homes III. In Section 7(c)(i)(A) of the Riverwalk

              Contract, Moayedi and CADG Riverwalk represented to Megatel that they intended




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              to transfer lots to Megatel “free and clear of all liens and encumbrances except”

              those specifically set forth in the contract. That representation was false and

              fraudulent because the contract did not include certain onerous restrictive covenants

              Moayedi had granted to a third party.

        e.    Riverwalk Predicate Act 2 – In Section 9(a)(1) of the Riverwalk Contract, Moayedi

              and CADG Riverwalk warranted that they had complied with “all applicable laws,

              ordinances, regulations and restrictions related to the Lots.” That representation

              was false and fraudulent because Moayedi had transferred the lots in a manner

              inconsistent with the requirements of the contract; that is, he had transferred the

              lots fraudulently and subject to undisclosed restrictive covenants.

        f.    Riverwalk Predicate Act 3 – In Section 9(a)(5)(A) of the Riverwalk Contract,

              Moayedi and CADG Riverwalk represented that “there [were] no unpaid charges,

              liabilities, or obligations arising from the construction, ownership, or operation of

              the Lots which could give rise to any mechanic’s or materialmen’s or other statutory

              lien against the Lots, or for which Purchaser will otherwise be responsible.” That

              representation was false and fraudulent because ownership of the Lots gave rise to

              “liabilities” and “obligations” arising out of the restrictive covenants and Moayedi

              knew as much.

        g.    Riverwalk Predicate Act 4 – In Section 9(a)(5)(D) of the Riverwalk Contract,

              Moayedi and CADG Riverwalk represented that “performance of this Contract will

              not result in any breach of, or constitute any default under, or result in the

              imposition of any lien or encumbrance upon the Lots under any agreement or other

              instrument to which Seller or the Lots might be bound.” That representation was




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              false and fraudulent because Moayedi knew that performance of the contract could

              potentially result in the “imposition of . . . [an] encumbrance” due to the presence

              of the restrictive covenants.

        h.    Riverwalk Predicate Act 5 – Upon information and belief, Moayedi covertly

              diverted millions of dollars of proceeds from both Megatel and from government

              EB-5 funds earmarked for the Riverwalk development to other development

              projects. This fraudulent diversion of development funds caused substantial delays

              in the project and substantial damages to Megatel.

        i.    Kensington Gardens Predicate Act 1 – Between July 2012 and December 2017,

              Moayedi made numerous false and fraudulent representations to Megatel

              concerning his progress toward completion of the Kensington Gardens

              development. These false representations took the form of false representations of

              existing facts—facts about what work he had actually done to advance

              development—and false promises concerning the timeline of completion.

              Moayedi’s intention in making these false and fraudulent representations was to

              induce Megatel to forgo its contractually guaranteed right to terminate the

              agreement upon Moayedi’s default.

        j.    Kensington Gardens Predicate Act 2 – In 2017, Moayedi caused various

              engineering documents to be forged to certify that all lots to be acquired by Megatel

              in the Kensington Gardens development satisfied the FEMA Base Flood Elevation

              (“BFE”) requirements. In fact, Moayedi knew that approximately 30 lots in the

              development did not satisfy the FEMA BFE requirements. Moayedi’s intention in

              causing the falsification of the engineering documents was to induce Megatel into




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              purchasing various lots in the Kensington Gardens development. Megatel did

              purchase multiple lots in the development and has since been denied necessary

              building permits from the City of Dallas because the lots do not satisfy the FEMA

              BFE requirements.

        k.    Lakes of Prosper Predicate Act 1 – On January 22, 2013, Moayedi fraudulently

              induced Megatel into the Lakes of Prosper Contract by representing that Moayedi

              would achieve substantial completion by September 1, 2013. That representation

              was false and fraudulent because, at the time it was made, Moayedi had no intention

              of performing. Moayedi’s intention in making this misrepresentation was to

              fraudulently induce Megatel to enter into the Lakes of Prosper Contract.

        l.    Lakes of Prosper Predicate Act 2 – On January 22, 2013, Moayedi fraudulently

              induced Megatel’s entry into the Lakes of Prosper Contract by representing that he

              would construct an amenity center in a timely fashion. That representation was

              false and fraudulent because, at the time it was made, Moayedi had no intention of

              performing. Moayedi’s intention in making this representation was to effectuate

              his scheme to fraudulently induce Megatel to enter into the Lakes of Prosper

              Contract.

        m.    Lakes of Prosper Predicate Act 3 – Over the next four years, Moayedi was in

              persistent contact with Megatel concerning the Lakes of Prosper development. In

              those communications, Moayedi—either directly or through his agents—

              consistently represented to Megatel that CADG Prosper Lakes North had made

              substantial progress toward timely completion of the development and of the

              amenity center and made representations concerning when development would be




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              complete. These representations were false and fraudulent because, at the time they

              were made, Moayedi had no intention of performing. They were also false and

              fraudulent because they constituted false representations of prior facts, in particular

              those facts concerning the progress made on the development.

        n.    Lakes of Prosper Predicate Act 4 – In 2014, Moayedi sent Megatel a letter by

              certified mail in which he represented that he would begin to construct the amenity

              center in the first quarter of 2015, such that it would be ready during the summer

              swimming season. This representation was false and fraudulent because, at the time

              it was made, Moayedi had no intention of performing. Moayedi’s intention in

              making this fraudulent representation was to induce Megatel to forgo their

              contractually guaranteed right to terminate the agreement.

        o.    Preston Hills Predicate Act 1 – On May 15, 2014, Moayedi caused CTMGT Frisco

              113—an instrumentality of the Centurion Enterprise—to enter into the Preston

              Hills Contract with Megatel Homes III. In the contract, Moayedi caused CTMGT

              Frisco 113 to represent to Megatel that it would “diligently pursue to [c]ompletion”

              the lots contained in Phase I such that they would be completed by June 23, 2015.

              That representation was false and fraudulent because, at the time it was made,

              Moayedi had no intention of performing.

        p.    Preston Hills Predicate Act 2 – On May 15, 2014, Moayedi caused CTMGT Frisco

              113 to represent to Megatel that it would “diligently pursue to [c]ompletion” the

              lots contained in Phase II such that Phase II construction would begin after the

              completion of the third lot takedown and be completed a year after construction




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              occurred. That representation was false and fraudulent because, at the time it was

              made, Moayedi had no intention of performing.

        q.    Preston Hills Predicate Act 3 – On May 15, 2014, Moayedi caused CTMGT Frisco

              113 to represent to Megatel that it would deliver an “operational” and complete

              amenity center no later than June 1, 2016. This representation was false and

              fraudulent because, at the time it was made, Moayedi had no intention of

              performing.

        r.    Preston Hills Predicate Act 4 – On June 23, 2014, Moayedi caused CTMGT Frisco

              113 to enter into the First Amendment to the Preston Hills Contract with Megatel

              Homes III. In the First Amendment, Moayedi reaffirmed the false and fraudulent

              promises made in the initial contract. In doing so, he made an additional false and

              fraudulent representation of fact.

        s.    Preston Hills Predicate Act 5 – On September 30, 2015, Moayedi caused CTMGT

              Frisco 113 to enter into the Second Amendment to the Preston Hills Contract with

              Megatel Homes III. In the Second Amendment, Moayedi reaffirmed the false and

              fraudulent promises made in the initial contract. In doing so, he made an additional

              false and fraudulent representation of fact.

        t.    Preston Hills Predicate Act 6 – On December 27, 2015, Moayedi caused CTMGT

              Frisco 113 to enter into the Third Amendment to the Preston Hills Contract with

              Megatel Homes III. In the Third Amendment, Moayedi reaffirmed the false and

              fraudulent promises made in the initial contract. In doing so, he made an additional

              false and fraudulent representation of fact.




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        u.    Preston Hills Predicate Act 7 – On May 18, 2016, Moayedi caused CTMGT Frisco

              113 to enter into the Fourth Amendment to the Preston Hills Contract with Megatel

              Homes III. In the Fourth Amendment, Moayedi reaffirmed the false and fraudulent

              promises made in the initial contract. In doing so, he made an additional false and

              fraudulent representation of fact.

        v.    Preston Hills Predicate Act 8 – On June 17, 2016, Moayedi caused CTMGT Frisco

              113 to enter into the Fifth Amendment to the Preston Hills Contract with Megatel

              Homes III. In the Fifth Amendment, Moayedi reaffirmed the false and fraudulent

              promises made in the initial contract. In doing so, he made an additional false and

              fraudulent representation of fact.

        w.    Preston Hills Predicate Act 9 – In July of 2016, Moayedi caused CTMGT Frisco

              113 to enter into the Sixth Amendment to the Preston Hills Contract with Megatel

              Homes III. In the Sixth Amendment, Moayedi reaffirmed the false and fraudulent

              promises made in the initial contract. In doing so, he made an additional false and

              fraudulent representation of fact.

        x.    Preston Hills Predicate Act 10 – Throughout the course of the development of the

              lots in Preston Hills, Moayedi made a series of false and fraudulent representations

              to Megatel concerning CTMGT Frisco’s progress. These representations were

              false and fraudulent both because they constituted false representations of present

              facts and also constituted false promises with respect to future performance. These

              fraudulent representations were made in order to induce Megatel to forgo their

              contractually guaranteed right to terminate the contract upon Moayedi’s default.




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        y.    Creeks of Legacy Predicate Act 1 – On August 12, 2014, Moayedi caused CTMGT

              Frontier 80—an instrumentality of the Centurion Enterprise—to enter into the

              Creeks of Legacy Contract with Megatel Homes III. In the contract, Moayedi

              caused CTMGT Frontier 80 to represent to Megatel that it would timely complete

              an amenity center for Phase I. That representation was false and fraudulent

              because, at the time it was made, Moayedi had no intention of performing.

        z.    Creeks of Legacy Predicate Act 2 – Under the Creeks of Legacy Contract, CTMGT

              Frontier 80 was entitled to charge Megatel an increased purchase price and interest

              on lots in the development only if the amenity center was timely completed. Over

              the following four years, Moayedi made numerous representations to Megatel

              concerning CTMGT Frontier 80’s progress toward completion of the amenity

              center and the date when it would be ready. These representations were false and

              fraudulent because they constituted false representations of existing facts—facts

              about what work Moayedi had done—and false promises concerning future

              performance. Moayedi made these false representations in order to fraudulently

              charge Megatel increased prices for lots in the development and interest charges

              that he was not entitled to charge because of his failure to timely complete the

              amenity center.

        aa.   Creeks of Legacy Predicate Act 3 – On October 17, 2018, Moayedi caused a

              fraudulent notice of default to be sent via certified mail to Megatel. The notice of

              default was fraudulent because it purported to lay blame for delays on Megatel

              when Moayedi knew that he was the one deliberately delaying completion. The




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              notice was issued in order to deny Megatel the opportunity to recoup its earnest

              money.

        bb.   Creeks of Legacy Predicate Act 4 – On December 14, 2018, Moayedi caused a

              wrongfully issued notice of termination to be sent via certified mail to Megatel,

              thereby causing Megatel to lose 45 lots to which it was entitled and $1,300,000 in

              earnest money. The notice of termination was false and fraudulent because it

              asserted that Megatel had defaulted when, in fact, Moayedi knew that he had

              intentionally defaulted.

        cc.   University Place Predicate Act 1 – On March 6, 2015, Moayedi caused CADG

              Dallas 163—an instrumentality of the Centurion Enterprise—to enter into the

              University Place Contract with Megatel Homes III. In that agreement, Moayedi

              caused CADG Dallas 163 to represent to Megatel that it “would proceed diligently

              and promptly with development” of University Place. That representation was false

              and fraudulent because, at the time it was made, Moayedi had no intention of

              performing.

        dd.   University Place Predicate Act 2 – In the March 6, 2015 University Place Contract,

              Moayedi caused CADG Dallas 163 to promise to Megatel it would build an amenity

              center in a timely and correct manner. That representation was false and fraudulent

              because, at the time it was made, Moayedi had no intention of performing.

        ee.   University Place Predicate Act 3 – In negotiations leading up to the March 6, 2015

              University Place Contract, Moayedi represented to Megatel that the development

              would be completed mere months after the earnest money was deposited. That




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              representation was false and fraudulent because, at the time it was made, Moayedi

              had no intention of performing.

        ff.   University Place Predicate Act 4 – On April 26, 2016, Moayedi caused CADG

              Dallas 163 to enter into the First University Place Amendment. That amendment

              includes a ratification clause in which Moayedi caused CADG Dallas 163 to affirm

              that all representations in the prior iteration of the contract remained valid. In

              falsely reaffirming the validity of his false and fraudulent promises, Moayedi made

              an additional false and fraudulent representation of fact.

        gg.   University Place Predicate Act 5 – On July 13, 2017, Moayedi caused CADG

              Dallas 163 to enter into the Second University Place Amendment. That amendment

              includes a ratification clause in which Moayedi caused CADG Dallas 163 to affirm

              that all representations in the prior iteration of the contract remained valid. In

              falsely reaffirming the validity of his false and fraudulent promises, Moayedi made

              an additional false and fraudulent representation of fact.

        hh.   Mercer Crossing – Kensington Predicate Act 1 – On October 5, 2017, Moayedi

              caused CADG Mercer MM Holdings—an instrumentality of the Centurion

              Enterprise—to represent to Megatel in the First Mercer Crossing – Kensington

              Contract that CADG Mercer MM Holdings would “proceed diligently and

              promptly with development of the lots” in the development. That representation

              was false and fraudulent because, at the time it was made, Moayedi had no intention

              of performing.

        ii.   Mercer Crossing – Kensington Predicate Act 2 – On February 28, 2019, Moayedi

              caused MM Mercer Kensington—an instrumentality of the Centurion Enterprise—




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              to send via certified mail a fraudulent force majeure notice to Megatel. That force

              majeure notice claimed that Moayedi was unable to commence work upon the land

              because of unsuitable weather conditions. That representation was false and

              fraudulent because Moayedi had not even begun efforts to develop the land; as

              such, any delay was attributable to his own neglect rather than to inclement weather.

              Moayedi’s intent in making this representation was to fraudulently induce Megatel

              to forgo their contractually guaranteed right to terminate upon Moayedi’s default.

        jj.   Mercer Crossing – Kensington Predicate Act 3 – On July 16, 2019, Moayedi caused

              MM Mercer Kensington to send via certified mail a second fraudulent force

              majeure notice to Megatel. That notice fraudulently claimed delays allegedly

              attributable to weather. That representation was false and fraudulent because,

              rather than being attributable to weather, the delays were solely attributable to

              Moayedi’s own deliberate failure to commence development in a timely fashion.

              Moayedi’s intent in making this representation was to fraudulently induce Megatel

              to forgo their contractually guaranteed right to terminate upon Moayedi’s default.

        kk.   Windhaven Predicate Act 1– On or about March 1, 2017, Moayedi caused

              Centurion’s contractors to represent to Megatel Homes III that substantial

              completion of various lots had been achieved and that geological reports indicated

              that the potential for vertical rise (“PVR”) on the allegedly completed lots was

              within mandatory design parameters. These representations were false because, at

              the time they were made, the PVR on the allegedly completed lots actually

              exceeded the mandatory design parameters and Centurion’s contractors, at

              Centurion’s insistence, falsified geological reports to indicate that the PVR levels




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              were acceptable when they were not. Moayedi’s intention in making these false

              representations was to induce Megatel III into purchasing the various lots on which

              Centurion and its successor-in-interest falsely claimed substantial completion had

              been achieved.

        ll.   Verandah Predicate Act 1– On or about May 5, 2017, Moayedi caused One

              Verandah, LP--an instrumentality of the Centurion Enterprise—to enter into the

              Verandah Contract with Megatel Homes III. The contract, as amended provided

              for the takedown of 75 residential lots by Megatel and another builder pursuant to

              a “Lot Split”, of which Megatel would select 25. When the date for completion

              arrived, the Lots were not ready, but in an effort to further fraudulently retain the

              earnest money and avoid paying over $500,000 in liquidated damages, Moayedi

              informed Megatel that he would not honor the Lot Split and instead falsely

              represented that Megatel was obligated to take down lots at Moayedi’s choosing in

              an adjacent development that was not contemplated in the original contract

              documents. Megatel terminated the contract and demanded a return of its earnest

              money and contract damages, which Moayedi refused.

        mm. Little Elm Predicate Act 1 – On or about January 29, 2012 Megatel identified a plot

              of land in Little Elm and spent significant resources conducting due diligence and

              obtaining zoning approvals. Megatel purchased the Little Elm land from its owner

              and simultaneously sold it to Centurion in reliance on Moayedi’s promise that

              Centurion would develop lots on the land and, in turn, sell those lots to Megatel.

              Centurion borrowed $5.5 million from UDF to finance this purchase. Megatel

              refunded approximately $500,000 of the purchase price to Centurion to finance




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               development costs. Moayedi promised that Centurion would credit this $500,000

               toward Megatel's earnest money obligation when Megatel ultimately purchased

               finished lots on the land from Centurion for $65,000 average per lot. Moayedi

               never intended to perform as promised. Centurion leveraged the increase in land

               value to take on significant debt from UDF, which was collateralized by the land.

               However, since any sale of lots developed from the land would need to pay down

               this debt burden, Megatel would not be able to purchase any lots from Centurion

               for a low enough amount to make them profitable, and certainly more than the

               promised $65,000 per lot. Thus Centurion simply refused to pursue the promised

               deal with Megatel while fraudulently retaining the improvements generated by

               Megatel and Megatel’s deposit.

       36.     These predicate acts are all related in that each was committed by or at the direction

of Moayedi, targeted Megatel, and facilitated the overall fraudulent scheme.

       37.     These predicate acts stretched over years, harmed multiple victims, and pose a

threat of continuing criminal conduct.

                      VIII. FRAUDULENT CONCEALMENT/DISCOVERY

       38.     As set forth herein, the defendants engaged in a persistent and protracted pattern of

fraud to conceal the overall fraudulent scheme and other misconduct. Moreover, defendants

repeated and continuing fraudulent acts were self-concealing. The defendants’ repeated and

continuing fraudulent acts were designed to, and did in fact, prevent Megatel from discovering the

facts that form the basis of its claims herein, despite Megatel’s exercise of reasonable diligence.




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                                 IX.     CAUSES OF ACTION

                                           First Claim
                                         RICO § 1962(a)

       39.     Megatel incorporates by reference Paragraphs 1-38 above as if set forth fully here.

       40.     This claim is against Moayedi.

       41.     The Centurion Enterprise is an enterprise engaged in and whose activities affect

interstate commerce.

       42.     Moayedi used and invested income derived from the above-described pattern of

racketeering in the Centurion Enterprise. By way of example, fraudulently obtained earnest money

was diverted from development projects into the Centurion Enterprise.

       43.     As a direct, contemporaneous, and proximate result of Moayedi’s racketeering acts

and violation of 18 U.S.C. § 1962(a), Megatel was injured in its business and property. Megatel

is entitled to recover treble damages as well as its reasonable attorneys’ fees and costs pursuant to

18 U.S.C. § 1964(c).

                                          Second Claim
                                         RICO § 1962(b)

       44.     Megatel incorporates by reference Paragraphs 1-43 above as if set forth fully here.

       45.     This claim is against Moayedi.

       46.     The Centurion Enterprise is an enterprise engaged in and whose activities affect

interstate commerce.

       47.     Moayedi acquired and maintained interests in and control of the Centurion

Enterprise through the above-described pattern of racketeering. By way of example, fraudulently

obtained earnest money was diverted from development projects into the Centurion Enterprise.




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       48.      As a direct, contemporaneous, and proximate result of Moayedi’s racketeering acts

and violation of 18 U.S.C. § 1962(b), Megatel was injured in its business and property. Megatel is

entitled to recover treble damages as well as its reasonable attorneys’ fees and costs pursuant to 18

U.S.C. § 1964(c).

                                          Third Claim
                                         RICO § 1962(c)

       49.     Megatel incorporates by reference Paragraphs 1-48 above as if set forth fully here.

       50.     This claim is against Moayedi.

       51.     The Centurion Enterprise is an enterprise engaged in and whose activities affect

interstate commerce. Moayedi is employed by and/or associated with the enterprise.

       52.     Moayedi conducted and participated in the conduct of the Centurion Enterprise’s

affairs through the above-described pattern of racketeering and for the purpose of intentionally

defrauding Megatel. By way of example, Moayedi made multiple false statements and omissions,

forged and backdated documents, and looted public project funding.

       53.      As a direct, contemporaneous, and proximate result of Moayedi’s racketeering acts

and violation of 18 U.S.C. § 1962(c), Megatel was injured in its business and property. Megatel

is entitled to recover treble damages as well as its reasonable attorneys’ fees and costs pursuant to

18 U.S.C. § 1964(c).

                                          Fourth Claim
                                         RICO § 1962(d)

       54.     Megatel incorporates by reference Paragraphs 1-53 above as if set forth fully here.

       55.     This claim is against UDF, Moayedi, Greenlaw, Etter, Wissink, and Jester.

       56.     UDF, Moayedi, Greenlaw, Etter, Wissink, and Jester participated in weekly

meetings and were in constant contact regarding the above-described pattern of racketeering, and




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agreed to facilitate the operation of the Centurion Enterprise through the above-described pattern

of racketeering and for the purpose of defrauding Megatel. Among other things, UDF and its

principals facilitated the above-described pattern of racketeering by orchestrating the diversion of

funds from Megatel projects, directing Moayedi to use loans from newer UDF funds to repay loans

from older UDF funds, and failing to enforce personal guarantees and other rights against Moayedi

to prevent the collapse of the Centurion Enterprise and to enable him to perpetrate the above-

described pattern of fraud against Megatel.

       57.     UDF, Moayedi, Greenlaw, Etter, Wissink, and Jester agreed that Moayedi would

commit at least two of above-described predicate acts.

       58.     As a direct, contemporaneous, and proximate result of Moayedi’s racketeering acts,

Megatel was injured in its business and property. Megatel is entitled to recover treble damages as

well as its reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

                                      Fifth Claim
                         Common Law Fraud/Fraudulent Inducement

       59.     Megatel incorporates by reference Paragraphs 1-58 above as if set forth fully here.

       60.     As detailed above, Moayedi, directly and through entities he controlled, made

numerous false material representations to Megatel.

       61.     At the time Moayedi made these representations, he either knew they were false or

made them recklessly, as positive assertions, without knowledge of their truth.

       62.     Moayedi made these false representations to Megatel with the intent that Megatel

would act on them and to induce Megatel to enter into various contracts and amendments and

forego various rights as detailed herein.

       63.     Megatel reasonably relied on Moayedi’s false representations and suffered injury

as a result. In addition to its actual damages, Megatel is entitled to recover exemplary damages



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under Chapter 41 of the Texas Civil Practice & Remedies Code because its harm resulted from

Moayedi’s fraud, malice, and/or gross negligence.

                                           Sixth Claim
                                         Statutory Fraud

       64.     Megatel incorporates by reference Paragraphs 1-63 above as if set forth fully here.

       65.     As detailed above, Moayedi, directly and through entities he controlled, made

numerous false representations of material fact and material false promises to Megatel in

connection with transactions involving real estate.

       66.     Moayedi made these false representations and promises for the purpose of inducing

Megatel to enter into various real estate contracts and amendments. In addition, Moayedi made

these material false promises with the intention of not fulfilling them.

       67.     Megatel reasonably relied on Moayedi’s false representations and promises by

entering into various real estate contracts and amendments and by foregoing various rights as

detailed herein, and suffered damages as a result.

       68.     Megatel is entitled to recover its actual damages as well as exemplary damages and

reasonable attorneys’ fees and costs under Texas Business & Commerce Code § 27.01.

                                         Seventh Claim
                                   Aiding and Abetting Fraud

       69.     Megatel incorporates by reference Paragraphs 1-68 as if set forth fully here.

       70.     As detailed herein, over the course of several years, Moayedi repeatedly defrauded

Megatel.

       71.     UDF, Greenlaw, Etter, Wissink, and Jester knew Moayedi was repeatedly

defrauding Megatel, intended to assist Moayedi in committing the various fraudulent acts detailed




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herein, and did in fact provide Moayedi assistance and encouragement in connection with

Moayedi’s fraudulent scheme.

         72.   UDF’s, Greenlaw’s, Etter’s, Wissink’s, and Jester’s assistance or encouragement

was a substantial factor in causing Megatel’s damages from Moayedi’s pervasive and persistent

fraud.

                                         X.     JURY DEMAND

         73.   Megatel demands a jury trial of its claims and has tendered the requisite jury fee

with the filing of this Original Complaint.

                                   XI.        PRAYER FOR RELIEF

         74.   Megatel respectfully requests that the defendants be summoned to appear, and

following a jury trial of Megatel’s claims, that judgment be entered in Megatel’s favor for all

damages alleged herein, including treble actual damages and exemplary damages, reasonable

attorneys’ fees and costs, and such other and further relief, at law or in equity, to which Megatel

may show itself justly entitled.

Dated: March 20, 2020                                 Respectfully submitted,

                                                      BARNES & THORNBURG LLP

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